       Case 5:22-cv-00349-EJD Document 44 Filed 10/17/22 Page 1 of 2




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10 Attorneys for Defendant

11 McCORMICK & COMPANY, INC.

12                           UNITED STATES DISTRICT COURT

13                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

14                                 SAN JOSE COURTHOUSE

15 In re: McCORMICK & COMPANY                   MASTER FILE NO. 5:22-CV-00349-EJD
               LITIGATION
16                                              DEFENDANT McCORMICK &
                                                COMPANY’S STATEMENT OF RECENT
17                                              DECISION

18                                              The Hon. Edward J. Davila

19                                              Date: October 20, 2022 [VACATED]
                                                Time: 9:00 a.m.
20                                              Courtroom 4, 5th Floor

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                 McCORMICK’S STATEMENT OF RECENT DECISION; MASTER FILE NO. 5:22-CV-00349-EJD
        Case 5:22-cv-00349-EJD Document 44 Filed 10/17/22 Page 2 of 2




 1          Defendant McCormick & Co., Inc. respectfully submits this Statement of Recent Decision

 2 pursuant to Civil Local Rule 7-3(d)(2) in connection with its Reply to Plaintiffs’ Opposition to Motion

 3 to Dismiss, ECF No. 38 at 11:18-12:17. The underlying motion was set for hearing before this Court

 4 on October 20, 2022 before being vacated for decision on the papers earlier today.

 5          Attached as Exhibit A is a copy of Guzman v. Polaris Indus. Inc., 49 F.4th 1308 (9th Cir.

 6 Sept. 29, 2022). In this decision, issued after McCormick’s reply was submitted, the Ninth Circuit

 7 held that a consumer, whose claim for monetary damages under the Consumer Legal Remedies Act

 8 was time-barred, had an adequate remedy at law for damages, precluding equitable relief in federal

 9 court.

10 DATED: October 17, 2022                      QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
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13                                                By /s/ Shon Morgan
                                                    Shon Morgan
14                                                  Attorneys for Defendant McCORMICK &
                                                    COMPANY, INC.
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                   McCORMICK’S STATEMENT OF RECENT DECISION; MASTER FILE NO. 5:22-CV-00349-EJD
